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                                     #:72606
                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          SACV 15-02034JVS(JCGx)                                                Date     12/22/20
 Title             Natural-Immunogenics Corp. v. Newport Trial Group, et al


 Present: The Honorable             James V. Selna, U.S. District Court Judge
                         Lisa Bredahl                                                 Sharon Seffens
                         Deputy Clerk                                                 Court Reporter
                Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                      Peter Arhangelsky                                                David Darnell
                       Joshua Furman                                                   Brendon Ford
                                                                                      James Sabovich


 Proceedings:           Telephonic Status Conference


      Cause is called for telephonic hearing. Counsel and the Special Master Andrew J
Guilford make their appearances.

Court and counsel confer. Counsel are ordered to meet and confer re a schedule for the
jury trial in this matter which shall be no earlier than October 1, 2021 and file a
stipulation with a proposed order by January 8, 2021. The stipulation shall include a date
for a further settlement conference.




                                                                                                         :    20

                                                               Initials of Preparer         lmb




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